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                            United States District Court
                                      for the
                            Southern District of Florida

 United States of America, Plaintiff,
                                   )
                                   )
 v.                                )
                                   ) Civil Action No. 18-21835-Civ-Scola
 Norma Isabel Borgono, aka Norma )
 Isabel Borgono Bedoya, Defendant. )
                        Order Denying Motion to Dismiss
       The Government seeks to revoke Defendant Norma Isabel Borgono’s
 naturalization based on fraud-related crimes she pleaded guilty to in 2011.
 (Compl., ECF No. 1.) Borgono argues the complaint should be dismissed
 because (1) the Court lacks subject-matter jurisdiction; (2) the complaint’s
 accompanying affidavit is insufficient; (3) the complaint is barred by laches; (4)
 the statute of limitations has run on the Government’s claim; and (5) all four
 counts in the complaint, for various reasons, fail to state a claim. (Def.’s Mot.,
 ECF No. 15.) For the following reasons, the Court denies Borgono’s motion
 (ECF No. 15).
    1. Legal Standard
         When considering a motion to dismiss under Federal Rule of Civil
 Procedure 12(b)(6), the Court must accept all the complaint’s allegations as
 true, construing them in the light most favorable to the plaintiff. Pielage v.
 McConnell, 516 F.3d 1282, 1284 (11th Cir. 2008). A pleading must only contain
 “a short and plain statement of the claim showing that the pleader is entitled to
 relief.” Fed. R. Civ. P. 8(a)(2). A motion to dismiss under Rule 12(b)(6)
 challenges the legal sufficiency of a complaint. See Fed. R. Civ. P. 12(b)(6). In
 assessing the legal sufficiency of a complaint’s allegations, the Court is bound
 to apply the pleading standard articulated in Bell Atlantic Corp. v. Twombly,
 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). That is,
 the complaint “must . . . contain sufficient factual matter, accepted as true, to
 state a claim to relief that is plausible on its face.” Am. Dental Ass’n v. Cigna
 Corp., 605 F.3d 1283, 1289 (11th Cir. 2010) (quoting Bell Atlantic Corp, 550
 U.S. at 570). “Dismissal is therefore permitted when on the basis of a
 dispositive issue of law, no construction of the factual allegations will support
 the cause of action.” Glover v. Liggett Grp., Inc., 459 F.3d 1304, 1308 (11th Cir.
 2006) (internal quotations omitted) (citing Marshall Cnty. Bd. of Educ. v.
 Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993). “A claim has
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 facial plausibility when the plaintiff pleads factual content that allows the court
 to draw the reasonable inference that the defendant is liable for the misconduct
 alleged.” Ashcroft, 556 U.S. at 678. “The plausibility standard is not akin to a
 ‘probability requirement,’ but it asks for more than a sheer possibility that a
 defendant has acted unlawfully.” Id.
        Motions to dismiss a complaint for lack of subject matter jurisdiction, as
 brought under Rule 12(b)(1), can consist of either a facial or factual attack on
 the complaint. Id. (citing McElmurray v. Consol. Gov’t of Augusta – Richmond
 Cnty, 501 F.3d 1244, 1250 (11th Cir. 2007)). A facial attack requires the court
 to “merely look and see if the plaintiff has sufficiently alleged a basis of subject
 matter jurisdiction,” whereas a factual attack “challenges the existence of
 subject matter jurisdiction using material extrinsic from the pleadings, such as
 affidavits or testimony.” Id. at 1233–34 (citing McElmurray, 501 F.3d at 1251).
 “A dismissal for lack of subject matter jurisdiction is not a judgment on the
 merits and is entered without prejudice.” Id. at 1232 (citations omitted).
     2. Background1
        Before Borgono became a United States citizen, she engaged in criminal
 activity that she concealed during the naturalization process. (Compl. at 1.)
 Between April 2003 (at the latest) and April 2009, Borgono conspired, in her
 role as an office manager of an exporting company in Miami, to procure over
 $24 million in fraudulent loan transactions. (Id. at 1, ¶ 7.) When she filed her
 naturalization application in February 2007 and when she was interviewed in
 November 2007, however, she maintained that she had never committed a
 crime for which she had not been arrested. (Id. at 1.) Thereafter, in December
 2011, Borgono pleaded guilty to conspiracy to defraud the United States and to
 commit mail fraud. (Id.) Despite the breadth of the overall scheme, Borgono
 was sentenced to only probation. (Id. at ¶ 19.) She was also ordered to pay only
 $5,000 in restitution to the bank from which the loans were obtained and to
 forfeit only $1,996.75. (Id.) The forfeited amount of $1,996.75 constituted the
 entirety of the proceeds of the conspiracy offense to which Borgono pleaded
 guilty. (Id.)
        The Government now seeks to revoke Borgono’s naturalization, alleging
 four counts. In count one, the Government contends Borgono illegally procured
 her naturalization because the crimes she committed, during the relevant
 statutory period, amounted to crimes involving moral turpitude, thus
 preventing her from establishing the good moral character required to
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  The Court accepts the Government’s allegations, as set forth below, as true for the purposes
 of evaluating Borgono’s motion to dismiss. Brooks v. Blue Cross & Blue Shield of Fla., Inc.,
 116 F.3d 1364, 1369 (11th Cir. 1997).
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 naturalize. (Id.. at ¶¶ 51–60.) Count two maintains Borgono was unable to
 establish the requisite good moral character, necessary for naturalization,
 because her fraudulent conduct amounted to “unlawful acts” that adversely
 reflected on her moral character. (Id. at ¶¶ 61–70.) In count three, the
 Government alleges Borgono provided false testimony during the statutory
 period when she testified at her naturalization interview that she had never
 committed a crime for which she had not been arrested. (Id. at ¶¶ 71–77.) And,
 lastly, in count four, the Government claims Borgono obtained her
 naturalization by willfully misrepresenting and concealing her criminal history
 during the naturalization process. (Id. at ¶¶ 78–83.)

    3. Discussion
    A. The Court has subject matter jurisdiction.
        To begin with, Borgono argues the Court lacks jurisdiction over this case
 because it was not initiated by the United States Attorney for the Southern
 District of Florida. As Borgono points out, the Government’s complaint is
 signed by Michael A. Celone—a U.S. Department of Justice trial attorney in the
 District Court Section of the Office of Immigration Litigation. (Id. at 18.)
 However, on this same signature page, the complaint recites it is “[r]espectfully
 submitted” by not only Celone but five others as well—including Benjamin G.
 Greenberg, the United States Attorney for the Southern District of Florida.
 These six individuals are described, on the signature page, collectively as
 “Attorneys for Plaintiff United States of America.”
        As a starting point, the Court notes this case is authorized and governed
 by 8 U.S.C. § 1451, which provides:
       It shall be the duty of the United States attorneys for the respective
       districts. . . to institute proceedings in any district court of the
       United States in the judicial district in which the naturalized
       citizen may reside at the time of bringing suit, for the purpose of
       revoking and setting aside the order admitting such person to
       citizenship and canceling the certificate of naturalization . . . .
 8 U.S.C.A. § 1451(a). The parties do not appear to dispute that the “provisions
 of th[is] statute set forth an exclusive procedure by which U.S. attorneys
 . . . may institute proceedings revoking naturalization.” In re Benjamin, 217 F.
 App’x 165, 166 (3d Cir. 2007) (citing United States v. Zucca, 351 U.S. 91, 95
 (1956)). The parties’ dispute, rather, centers on whether the United States
 Attorney was sufficiently involved in the filing of this complaint to have
 “institute[d] the proceedings.” The Court finds that he was.
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        First, by its plain terms, the complaint recites that it was “submitted” on
 behalf of, among others, Greenberg, the United States Attorney for the
 Southern District of Florida. (Compl. at 18.) The Court also finds that
 Greenberg is included in the complaint’s cataloging of the six people listed as
 “Attorneys for Plaintiff United States of America.” (Id.) This is enough to satisfy
 the jurisdictional requirements under § 1415. While, indeed, the better practice
 would be for the United States Attorney to actually sign the complaint, the
 Court will not elevate such a hypertechinical reliance on form over substance
 in this context. See United States v. Olivar, 648 Fed. App’x 675, 676 (9th Cir.
 2016) (unpublished) (noting that “similar jurisdictional challenges should be
 avoided in the future by ensuring that the United States Attorney for the
 district has actually signed the complaint bringing denaturalization
 proceedings before the district court”).
        Further, here, the United States Attorney expressly authorized the Office
 of Immigration Litigation to file this complaint, stating, in a 2018 letter, “I
 hereby institute denaturalization proceedings against [Borgono] and request
 and authorize the Office of Immigration Litigation . . . to file the complaint and
 serve as lead counsel in this matter.” (Pl.’s Resp., Ex. A, ECF No. 20-1, 4.) This
 too is “sufficient to satisfy jurisdictional requirements here.” Olivar, 648 Fed.
 App’x at 676.
        In sum, the Court is not persuaded by Borgono that the filing of this
 complaint by a trial attorney from the Office of Immigration Litigation runs
 afoul of 8 U.S.C. § 1451(a). Borgono’s jurisdictional arguments in this regard
 are thus unavailing.

    B. The affidavit attached to the complaint is sufficient.
       The civil denaturalization statute requires a complaint to be
 accompanied by an “affidavit showing good cause therefor.” 8 U.S.C. § 1451(a).
 Here, the Government attached an affidavit of good cause prepared by United
 States Immigration and Customs Enforcement Special Agent David Jansen.
 (Compl., Ex. A, Jansen Aff., ECF No. 1-3.) Jansen’s affidavit summarizes
 Borgono’s criminal history and naturalization proceedings.
       Borgono submits that Jansen’s affidavit does not comply with the
 relevant statutory requirements. In support, she complains the affidavit is
 based only upon the affiant’s “information and belief,” rather than upon his
 personal knowledge, and that it contains multiple false or unknowable
 statements. The Court has reviewed the affidavit and finds Jansen’s
 attestation, that the information in the affidavit is “true and correct” based
 upon “information and belief,” is not fatal to the affidavit’s efficacy. The Court
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 is also not persuaded by Borgono’s argument that the affidavit contains false or
 unknowable statements.
        First, immediately above Jansen’s signature, he “declare[s] under penalty
 of perjury that the foregoing is true and correct.” (Id. at 18.) This expressly
 complies with the requirement set forth in 28 U.S.C. § 1746 for an unsworn
 declaration that is to be treated “with like force and effect” as a sworn affidavit.
 Further, the affidavit required by § 1415(a) need not be based on the personal
 knowledge of the declarant but, as here, may be “based upon facts disclosed by
 official records . . . to which [the declarant] had access.” Nowak v. U.S., 356
 U.S. 660, 662 (1958).
        Jansen’s affidavit of good cause asserts he is “responsible for conducting
 investigations of violations of immigration law and related federal states” and,
 in that capacity, he has “access to the official records of the DHS, including
 [Borgono’s] immigration file.” (Jansen Aff. at ¶ 1.) He then details various facts
 related to Borgono’s naturalization application as well as her criminal activity.
 He goes on to explain how this criminal activity rendered her procurement of
 naturalization illegal. This is enough to establish the good cause necessary to
 institute these proceedings. See United States v. Malik, 15-9092-CM, 2015 WL
 6871491, at *3 (D. Kan. Nov. 9, 2015) (finding that “[t]he Affidavit of Good
 Cause is required only to proceed with the case—not to determine whether the
 court should grant judgment as a matter of law” and that there is “no law
 indicating that . . . more demanding standards for [the] affidavit should apply
 at the initiation of a case”). To the extent Borgono quarrels with the veracity of
 or support for Jansen’s statements, those arguments are more appropriately
 addressed on a motion for summary judgment or at trial.

    C. Laches does not apply in this case.
       Next, Borgono submits the Government’s complaint is barred by the
 doctrine of laches. Although the Court is sympathetic to Borgono’s argument,
 her position is nonetheless unavailing. First, “the United States is not subject
 to the defense of laches in enforcing its rights.” United States v. Mandycz, 447
 F.3d 951, 964 (6th Cir. 2006) (quoting United States v. Summerlin, 310 U.S.
 414, 416 (1940)) (applying this concept to denaturalization proceedings); United
 States v. Arango, 686 Fed. App’x 489, 491 (9th Cir. 2017) (Wallace, J.,
 concurring) (“[I]n the immigration arena, people who have procured citizenship
 by way of fraud should not be allowed to escape denaturalization via the laches
 trap door.”) Borgono has provided no express support for the application of
 laches in the context of denaturalization proceedings.
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         Second, a laches analysis requires a fact-intensive inquiry which the
 Court finds inappropriate to consider at the motion-to-dismiss stage of this
 litigation. “Dismissing a complaint as untimely at the pleading stage is an
 unusual step, since a complaint need not anticipate and overcome affirmative
 defenses, such as the statute of limitations or laches.” Billy Goat IP LLC v. Billy
 Goat Chip Co. LLC, 17-CV-9154, 2018 WL 3740542, at *3 (N.D. Ill. Aug. 7,
 2018) (quoting Cancer Found., Inc. v. Cerberus Capital Mgmt., LP, 559 F.3d 671,
 674 (7th Cir. 2009)). That is, “[a] court may only dismiss a claim as untimely
 under Rule 12(b)(6) if it is clear from the face of the complaint that it is
 hopelessly time-barred.” Billy Goat, 2018 WL 3740542, at *3 (quotation
 omitted). In short, even if applicable, a laches analysis in this case would, in
 any event, be inappropriate at this time.

    D. There is no applicable statute of limitations for civil denaturalization
       actions.
        Borgono further argues the complaint against her should be dismissed
 because the statute of limitations has run. In support, she contends that, as a
 general rule, all civil actions seeking “any civil fine, penalty, or forfeiture,
 pecuniary or otherwise” must be brought “within five years from the date when
 the claim first accrued.” 28 U.S.C. § 2462. Accordingly, contends Borgono,
 because denaturalization is a penalty and a forfeiture, the five-year statute of
 limitations should apply in this case. The Court disagrees.
        “Congress has not enacted a time bar applicable to proceedings to revoke
 citizenship procured by fraud.” Costello v. United States, 365 U.S. 265, 283
 (1961). To be sure, the United States Supreme Court and various circuit courts
 have approved of the Government’s instituting denaturalization proceedings
 against a defendant many decades after a defendant has naturalized. See, e.g.,
 Kungys v. United States, 485 U.S. 759, 764 (1988) (defendant naturalized in
 1954; denaturalization complaint filed in 1982); United States v. Szehinskyj,
 277 F.3d 331, 333 (3d Cir. 2002) (defendant naturalized in 1958; complaint
 filed in 1999). Borgono insists that denaturalization in this case is, without
 question, a penalty within the meaning of § 2462. And while the Court agrees
 that denaturalization, particularly here, is no doubt a harsh, if not devastating,
 result, there is simply no legal support for the application of § 2462’s
 limitations period. See, e.g., United States v. Hauck, 155 F.2d 141, 143 (2d Cir.
 1946) (“Reliance on [28 U.S.C. § 2462] as the applicable statute of limitations is
 a hopeless clutching at straws; that statute is completely irrelevant.”); United
 States v. Hongyan Li, 619 Fed. App’x 298, 303 (5th Cir. 2015) (“Because the
 denaturalization action is not punitive, the limitations period in § 2462 is
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 inapplicable.”); United States v. Rebelo, 394 Fed. App’x 850, 853 (3d Cir. 2010)
 (“[T]he catch-all statute of limitations of 28 U.S.C. § 2462 . . . does not apply to
 denaturalization proceedings brought pursuant to 8 U.S.C. § 1451(a).”); Trop v.
 Dulles, 356 U.S. 86, 98 (1958) (“Denaturalization is not imposed to penalize the
 alien for having falsified his application for citizenship.”) None of the cases
 Borgono cites supports a contrary conclusion.

    E. All four counts state claims upon which relief may be granted.
        Lastly, Borgono contends all four counts set forth in the complaint fail to
 state claims upon which relief may be granted. Regarding count one, Borgono
 first argues the complaint fails to properly allege that she committed her crimes
 during the relevant statutory period—between February 6, 2002 and December
 20, 2007. This is inaccurate. The complaint states: “From at least April 2003
 until May 2009, [Borgono] conspired: (1) to obtain from the Ex-Im Bank more
 than $24 million in fraudulent loan[s]; (2) to falsify documents sent to U.S.
 banks and to the Ex-Im Bank; and (3) to misappropriate $14.1 million in loan
 proceeds.” (Compl. at ¶ 8.) The complaint also pointedly avers Borgono
 participated in the conspiracy and the underlying fraud “during the statutory
 period.” (Id. at ¶ 56.) Borgono’s protestation that the complaint lacks specificity
 in this regard misses the mark.
        Borgono additionally contends count one fails to state a claim because
 the complaint does not adequately allege that her crime involved moral
 turpitude. In support, Borgono points to the notion that a nonspecific
 conspiracy, alone, is not a crime involving moral turpitude unless the
 underlying substantive crime itself involves moral turpitude. (Def.’s Mot. at 5.)
 But, the Government, in its complaint, alleges Borgono pleaded guilty to
 conspiracy to defraud the United States and to commit mail fraud. (Compl. at ¶
 55.) These are crimes of moral turpitude. See United States v. de Morais, 713
 Fed. App’x 540, 542 (9th Cir. 2017) (noting that “mail fraud [is] a crime
 involving moral turpitude”); United States v. Al-Aqaili, 550 Fed. App’x 356, 358
 (8th Cir. 2014) (finding that “mail fraud without question contains the element
 of fraud and, thus, is a crime involving moral turpitude”); Itani v. Ashcroft, 298
 F.3d 1213, 1215 (11th Cir. 2002) (noting that “[g]enerally, a crime involving
 dishonesty or false statement is considered to be one involving moral
 turpitude”) (quotation omitted).
        Next, Borgono insists count two should be dismissed because the
 Government alleges, as Borgono describes it, that “any unlawful act during the
 statutory period would have rendered Borgono a person of poor moral
 character.” (Def.’s Mot. at 16 (emphasis in original).) This is not what the
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 Government alleges. The complaint sets forth that Borgono committed unlawful
 acts during the statutory period that, specifically, “reflected adversely on her
 moral character.” (Compl. at ¶ 63.) The complaint then expressly describes the
 particular unlawful acts—conspiring to: obtain fraudulent loan proceeds; falsify
 bank documents; and misappropriate loan proceeds. (Id. at ¶ 64.) The
 Government simply has not alleged, as Borgono maintains, that any lawful act
 whatsoever would render Borgono a person of poor moral character.
        Borgono maintains that count two should also be dismissed because the
 allegation that Borgono “cannot establish extenuating circumstances with
 regard to the conspiratorial conduct and [underlying] fraudulent acts” is
 conclusory, merely parroting the relevant legal standard. (Def.’s Mot. at 16.)
 The Court disagrees. As set forth in the complaint, Borgono pleaded guilty to
 conspiracy to defraud the United States and to commit mail fraud. These
 allegations, taken together, are far more than just the “threadbare recital of the
 elements of a cause of action” rejected by Iqbal. 556 U.S. at 678. As such they
 are enough to survive a motion to dismiss under Rule 12(b)(6).
        Borgono’s arguments regarding counts three and four echo many of the
 same claims she raises with respect to counts one and two. For example, she
 complains that Carnival fails to specify exactly when Borgono participated in
 criminal activity thereby leaving open the possibility that her participation in
 the conspiracy did not begin until after she had been naturalized. (Def.’s Mot.
 at 17–18.) Again, this is inaccurate. The complaint states Borgono engage in
 criminal activity “[f]rom at least April 2003 until May 2009.” (Compl. at ¶ 8
 (emphasis added).) The complaint also pointedly avers Borgono participated in
 the conspiracy and the underlying fraud “during the statutory period.” (Id. at ¶
 74.) Borgono’s characterization of these allegations as pointedly leaving open
 the possibility that Borgono’s criminal activity did not begin until after she was
 naturalized is unavailing: the complaint’s allegations describe on ongoing
 criminal enterprise, in which Borgono participated, that began, at the latest, in
 April 2003. Borgono’s insistence that “the [c]omplaint does not allege that
 Borgono was involved in the scheme or had done anything criminal as of the
 date of her naturalization interview” is just wrong. As such, her motion to
 dismiss on these grounds fails.
        The remainder of Borgono’s objections regarding count three focus on
 evidentiary issues. She complains: there is no testimony presented in the
 complaint from the officer who actually conducted Borgono’s naturalization
 interview; and it’s possible Borgono’s misrepresentations were not material to
 her naturalization or relied upon by the adjudicator. Delving into these alleged
 evidentiary shortcomings of the Government’s case, even if valid, is premature
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 at this stage of the litigation. In sum, Borgono’s contention that the complaint
 fails to state a claim is unavailing.

    4. Conclusion
       Consistent with the foregoing, the Court denies Borgono’s motion to
 dismiss (ECF No. 15). Borgono must respond to the complaint by April 29,
 2019.
       Done and ordered at Miami, Florida, on April 18, 2019.

                                            ________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
